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                                                                                  2022 Mar-28 PM 01:36
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

C D NORBERG &                                 )
ASSOCIATES, INC.                              )
                                              )
      Plaintiff/Counter Defendant,            )     2:19-CV-01592-AMM
v.                                            )
                                              )
GS ADMINISTRATORS, INC.,                      )
                                              )
      Defendant/Counter Claimant.             )

______________________________________________________________________________

      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
__________________________________________________________________

      COME NOW the Parties, consisting of Plaintiff C.D. Norberg & Associates,

Inc. (“Plaintiff”) and Defendant GS Administrators, Inc. (“Defendant”)

(collectively, the “Parties”), by and through their attorneys, and hereby stipulate to

the dismissal of Plaintiff’s claims, with prejudice, and the dismissal of Defendant’s

counterclaims, with prejudice, with each party to bear its own attorney’s fees and

costs as per the proposed Order of Dismissal submitted herewith.

      WHEREFORE, PREMISES CONSIDERED, the Parties jointly pray for the

entry of an Order of Dismissal pursuant to the provisions hereof, with each Party to

bear its own cost relative thereto.

      THIS, the 28TH day of March, 2022.


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Respectfully submitted,

/s Jeffrey L. Ingram
Jeffrey L. Ingram, Esq.
David A. Butler, Esq
Counsel for C.D. Norberg & Associates, Inc.
OF COUNSEL
INGRAM, KALUPA, & BUTLER P.C.
203 Kenimer Avenue
Trussville, AL 35209
Tel: (205) 870-0663
Fax: (205) 870-0681
Email:        jeff@Ikblawyers.com
              david@ikblaywers.com



/s Shaun K. Ramey
Shaun K. Ramey, Esq.
T. Dylan Reeves, Esq
Counsel for GS Administrators, Inc.
OF COUNSEL:
McGlinchey Stafford
505 North 20th Street, Suite 800
Birmingham, AL 35203
(205) 725-6400 (telephone)
(205) 623-0810 (facsimile)
Email: sramey@mcglinchey.com
        dreeves@mcglinchey.com




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                         CERTIFICATE OF SERVICE

       I hereby certify that I have conventionally filed the foregoing with the Clerk
of the Court on March 28, 2022, and that I have electronically mailed the foregoing
to the following:

Counsel for C.D. Norberg & Associates, Inc.
OF COUNSEL
INGRAM, KALUPA, & BUTLER P.C.
203 Kenimer Avenue
Trussville, AL 35209
Tel: (205) 870-0663
Fax: (205) 870-0681
Email:       jeff@Ikblawyers.com
             david@ikblaywers.com



                                              /s/ Shaun K. Ramey
                                              OF COUNSEL




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